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                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                  100 EAST FIFTH STREET, ROOM 540
   Kelly L. Stephens             POTTER STEWART U.S. COURTHOUSE              Tel. (513) 564-7000
         Clerk                       CINCINNATI, OHIO 45202-3988            www.ca6.uscourts.gov




                                                  Filed: April 08, 2025




Ms. Christy J. Love
Love Law Firm
P.O. Box 3105
London, KY 40743

                       Re: Case No. 24-6148, USA v. Jeremy Harrell
                           Originating Case No. : 3:23-cr-00016-1

Dear Counsel,

  The appellant's motion for an extension of time to file the reply brief has been
GRANTED. The reply brief is now due April 9, 2025. Further extensions of time will not be
granted.

                                                  Sincerely yours,

                                                  s/Roy G. Ford
                                                  Case Manager
                                                  Direct Dial No. 513-564-7016

cc: Mr. James Tyler Chapman
    Mr. Charles P. Wisdom Jr.
